IMUM Un emietcoyeuir-lafeyam come (-1n14] AVM (el0 | mer: [X-m

bebtor1 VIKRAM SAGAR PASALA
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Eastern District of Michigan
24-44296 L) Check if this is an

Case number amended filing

(If Known)

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. \f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

se use All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
CI) No. Go to Part 2.

wi Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

Total claim Priority Nonpriority
amount amount
2.1 ‘
a | IRS in care of CBE Group, Inc Last 4 digits of accountnumber_1 6 4 O $_49,386.93 $49 38693  _ 0.00
Priority Creditor's Name
PO Box 2217 When was the debt incurred? 12/25/2023
Number Street
Waterl iA 50704 As of the date you file, the claim is: Check all that apply
aterioo .
City State ZIP Code Q) Contingent
i uniiquidatea
Who incurred the debt? Check one. a Disputed
a Debtor 1 only
Cd Debtor 2 only Type of PRIORITY unsecured claim:
+2 Debtor 1 and Debtor 2 only C) Domestic support obligations
At heuet one of the debtors and another a Taxes and certain other debts you owe the government
O) Check if this claim is for a community debt C) Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
O No C) other. Specify
Yes
2.2 | ARS In care of CBE Group, Inc Last 4 digits of accountnumber_ 1 6 4 O 5 34,347.43 5 34,347.4( 5 0.00
riority Creditor's Name
PO Box 2217 When was the debt incurred? 12/25/2023
Number Street
As of the date you file, the claim is: Check all that apply
Waterloo IA 50704 C1 Contingent
Gity Slate ZIP Code @ Uniiquidated
Who incurred the debt? Check one. Disputed
D |
(A Debtor 1 only Type of PRIORITY unsecured claim:
C) Debtor 2 only Qp ti t obligati
Q) Debtor 1 and Debtor 2 only oMSaNe suppor Soreesone
CQ Atieast one of the debtors and another Oo Taxes and certain other debts you owe the government
C) Check if this claim is for a community debt rams for death OF personal injury while: you wore
Is the claim subject to offset? () Other. Specify
C) No
Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 7

24-44296-mar Doc 40 Filed 05/23/24 Entered 05/23/24 17:06:10 Page 1of7
Debtor 1 VIKRAM SAGAR PASALA Case number (itknown 24744296

First Name Middle Name Last Name

Ea Your PRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim _— Priority Nonpriority

amount amount
IRS in care of CBE Group, Inc Last 4 digits of accountnumber_ 1 6 4 O  $78,201.8C s78,201.€ 5 0.00
Priority Creditor's Name
PO Box 2217 When was the debt incurred? 12/25/2023
Number Street
As of the date you file, the claim is: Check all that apply.
Waterloo IA__ 50704 Q) Contingent
City State ZIP Code Unliquidated

Disputed
Who incurred the debt? Check one.

@ debtor 1 only Type of PRIORITY unsecured claim:

C) Debtor 2 only
CQ) Debtor 1 and Debtor 2 only
() At teast one of the debtors and another

C) Domestic support obligations
Taxes and certain other debts you owe the government

(J Claims for death or personal injury while you were
intoxicated

Q) Check if this claim is for a community debt
QQ other. Specify

Is the claim subject to offset?

( No

aw Yes

Last 4 digits ofaccountnumber

Priority Creditor's Name

When was the debt incurred?

Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code QJ Unliquidated
C) Disputed
Who incurred the debt? Check one.
C) Debtor 1 only Type of PRIORITY unsecured claim:
U Debtor 2 only C) Domestic support obligations
Q) Debtor 1 and Debtor 2 only .
C) Taxes and certain other debts you owe the government
C1 At least one of the debtors and another . ted j
(J Claims for death or personal injury while you were
QO) Check if this claim is for a community debt intoxicated
QC) Other. Specify
Is the claim subject to offset?
Q) No
Q) Yes

Last 4 digits of account number ___ $ $ $

Priority Creditor’s Name

When was the debt incurred?

Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent

City State ZIP Code ) Unliquidated

Q Disputed
Who incurred the debt? Check one.
C) Debtor 4 only Type of PRIORITY unsecured claim:
C) Debtor 2 only
C) Debtor 1 and Debtor 2 only
CJ At least one of the debtors and another

Q) Domestic support obligations
O) Taxes and certain other debts you owe the government
CJ Claims for death or personal injury while you were

Q Check if this claim is for a community debt intoxicated
CJ other. Specify

Is the claim subject to offset?

QC] No
QC) Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 2 of 7_

24-44296-mar Doc 40 Filed 05/23/24 Entered 05/23/24 17:06:10 Page 2 of 7
Debtor 4 VIKRAM SAGAR PASALA Case number (irknown_24-44296

First Name Middle Name Last Name

a List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

CL) No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.

Total claim
OXFORD COMMERCIAL FINANCE Last 4 dighs of account number Son fe. 00
Nonpriority Creditor’s Name $___ Be
60 South WASHINGTON STREET BEET aE aE SOE eee?
Number Street
OXFORD MI 48371
City State ZIP Code As of the date you file, the claim is: Check all that apply.
Q Contingent
Who incurred the debt? Check one. wf Unliquidated
a Debtor 1 only Q) Disputed
CQ) Debtor 2 only
Q) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
() At least one of the debtors and another O Student loans
QO] Check if this claim is for a community debt Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? () Debts to pension or profit-sharing plans, and other similar debts
@ No @ other. specify Loan / pending lawsuit
C) Yes
2 | Ally Financial Last 4 digits of account number g__14,857.00_
Nonpriority Creditors Name When was the debt incurred? 02/23/2021
200 Renaissance CTR #B0
Number Street
Detroit MI 48243 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
Who incurred the debt? Check one. YW Unliquidated
@ Debtor 1 only C) Disputed
CI Debtor 2 only .
Q) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CJ At least one of the debtors and another CJ student loans
. oo QO Obligations arising out of a separation agreement or divorce
Q Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? CJ Debts to pension or profit-sharing plans, and other similar debts
@ No @ other. Specify Credit card loans
Q) Yes
fo | Capital One Auto Financing Last 4 digits of account number 20.227.00
Nonpriority Creditors Name Wh the debt | 4? 01/21/2021 __._.
en was the debt incurred?
PO Box 259407 TTT
Number Street
Plano TX 75025 .
Giy Sats TP code As of the date you file, the claim is: Check all that apply.
Who incurred the debt? Check one. a Coningens
w Debtor 4.oat Unliquidated
enor only Q Disputed
C) Debtor 2 only
O) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C1 At least one of the debtors and another
CJ Student loans
Q) Check if this claim is for a community debt (J Obligations arising out of a separation agreement or divorce
Is the claim subject to offset? that you did fel report a8 priority claims
B No CJ Debts to pension or profit-sharing plans, and other similar debts
Other. i
O ves @ other. Specify_Credit card loans
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 3 of 7

24-44296-mar Doc 40 Filed 05/23/24 Entered 05/23/24 17:06:10 Page 3of 7
PASALA Case number (if known). 24-44296

VIKRAM

First Name

Your NONPRIORITY Unsecured Claims — Continuation Page

SAGAR

Last Name

Debtor 1

Middle Name

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
Last 4 digits of t number
Credit One Bank ast 4 aighs of account number $ 36.00

Official Form 106E/F

Nonpriority Creditor's Name

PO Box 98875

Number Street

Las Vegas NV

89193

City State

Who incurred the debt? Check one.

i Debtor 1 only

C) Debtor 2 only

() Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

B No
C) Yes

DCFU Financial Credit Union

ZIP Code

Nonpriority Creditors Name

400 Town Center Dr

Number Street

Dearborn MI

48126

City State

Who incurred the debt? Check one.

Ui Debtor 1 only

C) Debtor 2 only

() Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

B No
Q) Yes

Discover Bank

ZIP Code

Nonpriority Creditor's Name

PO Box 30939

Number Street

Salt Lake City UT

84130

City State

Who incurred the debt? Check one.

WW Debtor 1 only

C) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

Cl Atleast one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject to offset?

B No
() Yes

24-44296-mar

ZIP Code

Schedule E/F: Creditors Who Have Unsecured Claims

07/01/2021

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
@ Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QQ Debts to pension or profit-sharing plans, and other similar debts

W@ other. specify Credit card loans

$22,323.04

Last 4 digits of account number —__

05/31/2023

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
U Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

W other. Specify_Credit card loans

5 5,622.00

Last 4 digits of account number ___

01/16/2023

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

CJ Contingent
UV Unliquidated
1 Disputed

Type of NONPRIORITY unsecured claim:

C) Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts
W other. specify Credit card loans

page 4 of 7_

Doc 40 Filed 05/23/24 Entered 05/23/24 17:06:10 Page 4 of 7
Debtor 1

VIKRAM SAGAR

PASALA

First Name Middle Name Last Name

Case number (itknown) 24-44296

Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

7
Merrick Bank Corp

Official Form 106E/F

Nonpriority Creditor's Name

PO Box 9201

Number Street

Old Bethpage NY

11804

City State

Who incurred the debt? Check one.

Debtor 1 only

C) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

@ No
C) Yes

TBOM/ATLS/ASPIRE

ZIP Code

Nonpriority Creditor's Name

5 Concourse Pkwy Ste 400

Number Street

Atlanta GA

30328

City State

Who incurred the debt? Check one.

i Debtor 1 only

C) Debtor 2 only

CQ) Debtor 4 and Debtor 2 only

C1 At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

@ No
Q) Yes

Wells Fargo Dealer SVC

ZIP Code

Nonpriority Creditor’s Name

PO Box 71092

Number Street

Charlotte NC

28272

City State

Who incurred the debt? Check one.

C) Debtor 4 only

Q) Debtor 2 only

C) Debtor 4 and Debtor 2 only

CI At least one of the debtors and another

QC] Check if this claim is for a community debt

Is the claim subject to offset?

B No
C) Yes

24-44296-mar

ZIP Code

Last 4 digits of accountnumber

11/09/2021

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
@ Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CJ Debts to pension or profit-sharing plans, and other similar debts

W@ other. specify Credit card loans

Last 4 digits of account number

02/22/2021

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q) Contingent
(2 unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

C) student loans

C) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify Credit card loans

Last 4 digits of account number ___

05/19/2023

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
CJ Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

C) student loans

C) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

O) Debts to pension or profit-sharing plans, and other similar debts
QO) Other. Specify.

Schedule E/F: Creditors Who Have Unsecured Claims

$

§

$

Total claim

59.00

702.00

49,366.48

page 5 of 7

Doc 40 Filed 05/23/24 Entered 05/23/24 17:06:10 Page 5of 7
Debtor1 VIKRAM

SAGAR

PASALA Case number (if known) 24-44296

First Name

Middle Name

Last Name

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part 1 or Part 2 did you list the original creditor?

Name
Line__ of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line___ of (Check one): () Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
. Last 4 digits of account number ___ SS
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): CO) Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ Le
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits of account number
City State ZIP Code TI ——
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): UO) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
5 Last 4 digits of account number ___
City State ZIP Code a
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
hummer Street O) Part 2: Creditors with Nonpriority Unsecured
Claims
_ Last 4 digits of account number
City State ZIP Code — —
a On which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street
Q) Part 2: Creditors with Nonpriority Unsecured
Claims
City State ZIP Gode Last 4 digits ofaccountnumber_
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 6 of 7

24-44296-mar Doc 40

Filed 05/23/24 Entered 05/23/24 17:06:10 Page 6of7
Debtor 1 VIKRAM SAGAR PASALA Case number (known 24744296

First Name Middle Name Last Name

Ea Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claim
; 9 is 6a.
Total claims 6a. Domestic support obligations a 5
names 9 6b. Taxes and certain other debts you owe the
government 6b, 5 161,936.20
6c. Claims for death or personal injury while you were
intoxicated 6c. 5
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. 5
6e., Total. Add lines 6a through 6d. 6e.
5 161,936.20
Total claim
Toinl cial 6f. Student loans 6f. $
from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims 6g. $
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. Gi. +5 913,192.00
6j. Total. Add lines 6f th h Gi. j.
j. Tota ines rough 6i 6j ‘ 913,192.00
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page / of 7_

24-44296-mar Doc 40 Filed 05/23/24 Entered 05/23/24 17:06:10 Page 7 of 7
